               Case 3:16-bk-02230-PMG           Doc 1013        Filed 05/01/18        Page 1 of 17



                             UNITED STATES BANKRUPTCY COURT
                                MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION

In re:
                                                                 Case No.: 3:16-bk-02230-PMG
RMS TITANIC, INC., et al.,
                                                                 Chapter 11
                    1
      Debtors.
________________________________/                                (Jointly Administered)


                        MOTION OF EUCLID CLAIMS RECOVERY LLC FOR
                           APPOINTMENT OF CHAPTER 11 TRUSTEE


         The Motion of Euclid Claims Recovery LLC, a creditor herein, for Appointment of

Chapter 11 Trustee, by and through its undersigned counsel, hereby represents and requests as

follows:



                                      JURISDICTION AND VENUE

         1.        This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. Sections

157 and 1334. This is a core proceeding under 28 U.S.C. Section 157(b) and venue is proper

pursuant to 28 U.S.C. Section 1408. The Motion is brought under Bankruptcy Code Section

1104(a).




1
  The Debtors in the chapter 11 cases, along with the last four digits of each Debtor's federal tax identification
number include: RMS Titanic, Inc. (3162); Premier Exhibitions, Inc. (4922); Premier Exhibitions Management,
LLC (3101); Arts and Exhibitions International, LLC (3101); Premier Exhibitions International, LLC (5075);
Premier Exhibitions NYC, Inc. (9246); Premier Merchandising, LLC (3867); and Dinosaurs Unearthed Corp. (7309)
(collectively, the "Debtors"). The Debtors' service address is 3045 Kingston Court, Suite I, Peachtree Corners,
Georgia 30071.


{39838418;1}
            Case 3:16-bk-02230-PMG         Doc 1013       Filed 05/01/18     Page 2 of 17



                                  PRELIMINARY STATEMENT


       2.       As this chapter 11 case approaches its two-year anniversary, it is extremely

concerning that the debtor-in-possession has failed to propose even an initial plan of

reorganization or disclosure statement. This failure is particularly vexing to estate creditors in

light of the following circumstances, among others:


                a.     Multiple, fumbling, start-and-stop efforts to set and then abandon
                       publicly announced procedures and deadlines for the sale of the
                       debtors’ assets without ultimately finalizing any sale process;

                b.     Serial mistakes and failed attempts to make proper service of legal
                       process and to obtain a default judgment against France resulting
                       in many months of needless and costly delay in the critical
                       litigation to establish clear title to the debtor’s French artifacts;

                c.     The incurring of aggregate fees and expenses of chapter 11
                       professionals approaching $5 million without yielding any return
                       for creditors in this case involving pre-petition unsecured claims of
                       approximately $12 million;

                d.     Substantial and continuing loss to and diminution of the estate as a
                       result of the funding of post-petition administrative losses through
                       a $5 million super priority lending facility under which $4.2
                       million was reported to be outstanding as of March 31, 2018.

       3.       The debtor-in-possession’s lack of fiduciary stewardship in advancing this case is

especially problematic when viewed in light of the Motion for Order Authorizing the Debtors to

Market and Sell Certain Titanic Artifacts filed by the debtor at the very inception of these

proceedings in June, 2016 (the “Initial Sale Motion”). [Docket No. 28]


       4.       The Initial Sale Motion set out a clear and unequivocal course to readily pay

creditors in full through the sale of a portion of the debtor’s Titanic artifacts drawn from its so-

called French Collection. The Initial Sale Motion noted that the Titanic artifacts are divided in




                                                  2
                Case 3:16-bk-02230-PMG                  Doc 1013   Filed 05/01/18   Page 3 of 17



two segments -- the American Collection and the French Collection -- and that while the

American Collection is subject to severe covenants and restrictions on sale, no such restrictions

exist in regard to the French Collection.2


           5.        Indeed, the debtors’ intent was stated in unmistakable terms at paragraph 27 of the

Initial Sale Motion:

                     “All of the parties of the Debtors’ bankruptcy benefit from a limited sale
                     of artifacts from the French Collection. As of today’s date, the Debtors
                     owe their creditors approximately $12,000,000 in unsecured debts. A sale
                     of just a small subset of artifacts from the French Collection would permit
                     the Debtors to pay every creditor in full…”

           6.        The debtors’ contention appears amply supported by the comprehensive appraisal

report attached as Exhibit C to the Initial Sale Motion (the “Appraisal Report”). The Appraisal

Report finds a total value for all of the individual Titanic artifacts of $218 million, and the

French Collection represents almost one-half of the total number of artifacts.


           7.        The Initial Sale Motion was equally clear in stating the intent of the debtor in

regard to the American Collection. After discussing in detail the history and nature of the

covenants and restrictions attendant to the American Collection and the considerable legal

uncertainties and difficulties in pursuing any disposition of the artifacts within that segment, the

debtor states at paragraph 25 of the Initial Sale Motion:

                     “[The debtor] has no intent to pursue a sale of artifacts from the American
                     Collection.”

           8.        The prudence of considering a sale of individual artifacts from the French

Collection rather than a singular sale of the entirety of the debtors’ Titanic artifacts is starkly

apparent by reference to the Appraisal Report, which states at page 1:

2
    See Initial Sale Motion at pars. 8, 9, 16 and 17.


                                                            3
                Case 3:16-bk-02230-PMG         Doc 1013     Filed 05/01/18     Page 4 of 17



“Research finds no public record for the singular sale of a personal property collection matching
the cultural and historic magnitude of the Titanic collection. There is no adequate basis for a
valuation opinion when the combined RMS Titanic properties are treated as a single entity.”

           9.       Instead, the Appraisal Report proceeds to a detailed valuation of the various

Titanic artifacts based on an assessment of public sales of individual artifacts through recognized

auction houses specializing in historical and maritime memorabilia. The authors of the Appraisal

Report describe their data gathering activity as follows: 3

                    “All Titanic memorabilia auction sales data available via online auction
                    databases, auction house websites, as well as in printed auction catalogs,
                    published articles and price lists were assembled.”

The Appraisal Report makes reference to specific sales data from RR Auction in Amherst, New

Hampshire and Henry Aldridge & Son auction house in England which are regarded as leading

sources for auctions of this type and then further elaborates: 4

                    “Titanic sales were researched at all major auction houses in the United
                    States and England, both in printed auction catalogues and online,
                    including Christie’s, Sotheby’s and Bonhams, as well as regional and local
                    auction houses including Heritage Auctions, Swann Auction Galleries,
                    Skinner Auctioneers, Doyle New York, Philip Weiss Auctions, Rago
                    Auctions, Cowans Auctions, Freeman’s, Antiquorum, Northeast Auction,
                    PBA Galleries, Saco River Auctions and DuMouchelle Auction
                    Galleries.”

           10.      In light of this background, and the expert opinion contained in the Appraisal

Report, it is dumbfounding that there is no indication whatsoever in the public record of this case

that the debtors have ever pursued any auction house sale of individual artifacts from the French

Collection. Instead, the only publicly announced sale efforts attempted by the debtors have been

for the singular sale of the Titanic artifacts as an entirety – an effort without precedent, and, as

noted by the debtors at inception, a course fraught with legal complexity and tremendous



3
    Appraisal Report at page 13.
4
    Appraisal Report at page 14.


                                                     4
             Case 3:16-bk-02230-PMG               Doc 1013       Filed 05/01/18       Page 5 of 17



uncertainty. The failure of the debtors’ sale efforts to date is thus hardly surprising. Moreover,

such a sale, even if arranged, seems unlikely to produce a value maximizing result for the benefit

of creditors.


                            ILL-CONCEIVED AND FAILED SALE EFFORTS


           11.     Not only is the debtors’ decision to pursue an entirety sale highly questionable,

but the manner and timetable by which they have conducted and then abandoned their sale

efforts has been muddled, halting and ineffectual. After the failure of the June, 2016 Initial Sale

Motion on procedural grounds, there is no indication on the public case record of any further sale

efforts by the debtor until almost a year later when it filed its Motion seeking approval of a

certain plan support agreement on May 18, 2017 (the “Plan Support Motion”). [Docket No. 587].


           12.     Embedded within the Plan Support Motion was a sale process that, instead of

seeking the sale of individual artifacts from the French Collection, contemplated offering all

Titanic artifacts from both the American Collection and the French Collection as an entirety in

what it described as a “Complete Sale Process”: 5

                   “The Debtors with the consent of the Supporting Committees shall
                   conduct a process to market and sell: (i) the common shares in RMST or
                   the entire artifact collection held by RMST; and (ii) the operations of
                   PRXI and its subsidiaries with continued licensing rights for existing
                   operations.”

           13.     The Plan Support Motion and attached Complete Sale Transactions Term Sheet

set out the following timeline for conducting the entirety asset sale:




5
    Plan Support Motion, Exhibit A Complete Sale Transactions Term Sheet at page 4.


                                                         5
             Case 3:16-bk-02230-PMG           Doc 1013      Filed 05/01/18      Page 6 of 17



                   -   May 19, 2017 finalization of marketing materials
                   -   July 21, 2017 deadline for submission of letters of intent from interested
                       bidders
                   -   September 25, 2017 deadline for selection of stalking horse bidder
                   -   October 23, 2017 deadline for entry of sale procedure order
                   -   November 20, 2017 deadline for conducting final auction sale


          14.      After extending the deadline for selection of a stalking horse bidder several times

and allowing those extended dates to lapse without any stalking horse bidder being found, the

debtor filed its Motion to sell all or substantially all of its assets on November 14, 2017 (the

“November Sale Motion”) [Docket No. 811] by which it sought to conduct an auction sale of the

entirety of the Titanic artifacts without a stalking horse bidder in one or more of the following

“Auction Lots”: 6

                   “(i) the common shares of RMST; (ii) the entire artifact collection held by
                   RMST; (iii) the operations of PRXI and/or any of its subsidiaries (with
                   continued licensing rights for existing operations); and/or (iv) the assets of
                   PRXI and/or any of its subsidiaries”

          15.      The November Sale Motion contemplated a bid deadline of January 30, 2018 and

an auction date of February 6, 2018. However, before a hearing could even be held to approve

the November Sale Motion, the debtor withdrew the Motion on December 15, 2017 in apparent

response to withering objections that the entirety sale process was not value maximizing and also

ran afoul of the covenants and restrictions affecting the American Collection. Thus, after almost

two years of questionable and non-productive sale efforts, and long after the expiration of the

exclusive periods for the debtors to file and obtain confirmation of a plan, this case now stands in

limbo without any public indicia of an end game -- let alone a value maximizing result for

creditors.



6
    November Sale Motion at page 10.


                                                     6
          Case 3:16-bk-02230-PMG           Doc 1013      Filed 05/01/18      Page 7 of 17



       16.     The grave mishandling of the sale process and the categorical failure to

promulgate even an initial plan within, and now well beyond, the exclusive period are sufficient

grounds alone to displace the debtor-in-possession with a chapter 11 trustee. Unfortunately,

however, the severe lack of responsible fiduciary stewardship by this debtor-in-possession is

even more widespread extending to the careless and excruciatingly slow manner in which it

prosecuted the critical litigation concerning title to the French Collection. Moreover, the

deficient oversight of the administration of this chapter 11 case by the debtor-in-possession has

resulted in post-petition losses and diminution in value already approaching $6 million to the

severe detriment of pre-petition creditors. These additional failings are discussed below.


                   MISHANDLING OF FRENCH ARTIFACTS LITIGATION


       17.     Given the critical importance of the French litigation in establishing title to the

French Collection, the lack of diligence and timeliness by the debtor-in-possession in

prosecuting that litigation is staggering. As indicated above, that litigation was initiated in June,

2016 by the Initial Sale Motion in the form of a contested matter. The Court found that Motion

to be procedurally defective by its Order entered on July 22, 2016 holding that an adversary

proceeding was required. [Docket No. 102] The debtor-in-possession cavalierly took almost a

month after that decision before filing the required adversary complaint on August 17, 2016

naming the Republic of France as defendant.


       18.     France did not appear in response to the adversary complaint, and on September

29, 2016 the debtor moved for the entry of default. [Adv. Pro. Docket No. 5] However, that

motion for default was abated by Court order entered on October 4, 2016 [Adv. Pro. Docket No.

7] finding that the motion did not comply with the Court’s Local Rules. Not until one month



                                                  7
             Case 3:16-bk-02230-PMG           Doc 1013      Filed 05/01/18     Page 8 of 17



later on November 4, 2016, with France still not appearing, did the debtor file its second motion

for entry of default. [Adv. Pro. Docket No. 10] On its face, that motion appeared based on a

defective method of service by the debtor. For whatever the reason, that motion languished

without any action for more than three additional months until the debtor filed its third motion

for entry of default on February 16, 2017. [Adv. Pro. Docket No. 45] The supporting exhibits

filed with that motion appear to indicate that the debtor finally employed a correct method of

service of process to support a default motion against France – six months after the adversary

complaint was first initiated and almost eight months after the Initial Sale Motion was filed.


           19.     Unfortunately, the lack of diligence by the debtor in prosecuting the French

litigation was not limited to its deficient handling of service of process. When the debtor filed its

motion for entry of default on February 16, 2017 it concurrently filed its motion for judgment

[Adv. Pro. Docket No. 46], and the Court set both motions for hearing on March 30, 2017.

Following that hearing, the Court issued its ruling on April 25, 2017 [Adv. Pro. Docket No. 52]

allowing the entry of default but declining to enter judgment for the following reasons and

ordering that a further evidentiary hearing take place:7

                   "The Court has considered the documents submitted by the Debtor to
                   support its claim of unconditional title, and cannot determine that the
                   current record contains satisfactory evidence to establish that the French
                   Republic has no interest in the French Artifacts, or that the Debtor is
                   entitled at this time to the relief it requests."

           20.     A hearing pursuant to the Court’s order was then conducted on August 17, 2017

at which the Debtor ultimately cured its prior deficiencies in submitting evidentiary support for a

default judgment against the Republic of France, and a final Judgment was entered by the Court

on September 29, 2017. France has never filed an appearance in the adversary proceeding or


7
    Adv. Pro. Docket No. 52 at pages 15-16.


                                                    8
          Case 3:16-bk-02230-PMG           Doc 1013      Filed 05/01/18      Page 9 of 17



otherwise in the chapter 11 case, and it is thus notable that the debtor faced no opposition from

the defaulting defendant at any stage of the more than year-long odyssey to obtain the judgment

the debtor first sought in June, 2016.


             SUBSTANTIAL AND CONTINUING ADMINISTRATIVE LOSSES


       21.     It is distressingly clear that the debtor-in-possession has produced no benefit for

creditors in light of its ineffectiveness in proposing a plan and its ineptness in conducting a sale

process and prosecuting the French litigation. Even worse, however, is the fact that the debtor-in-

possession has caused great detriment to pre-petition creditors by presiding over an estate

administration that has incurred substantial post-petition losses, substantial post-petition priming

debt and inordinately high administrative fees and costs.


       22.     A review of the case docket reflects that, to date, aggregate fees and expenses in

excess of $4.1 million have been allowed to chapter 11 professionals on account of interim fee

applications for time and expenses incurred through August or September, 2017, as applicable.

Moreover, the docket reflects that there are currently pending additional interim fee applications

that have not yet been allowed seeking further aggregate fees and expenses of more than

$725,000 for the incremental time periods through, as applicable, December, 2017 or January,

2018. Given the status and history of this case, it can certainly be expected that a further round of

interim fee applications will soon be filed for the next 120-day incremental period, and even

those are not likely to be the last of the fee requests as this case grinds on. These fee amounts are

astounding for a case involving $12 million of pre-petition unsecured debt and in which so little

has been accomplished.




                                                  9
         Case 3:16-bk-02230-PMG            Doc 1013      Filed 05/01/18      Page 10 of 17



       23.     The cumulative effect of the day-to-day mismanagement of this case by the

debtor-in-possession as it mounts up substantial post-petition losses has been especially

damaging to unsecured creditors. At inception, the only pre-petition claims requiring payment

through an asset sale or under a plan were $12 million of unsecured claims and $3 million of

secured claims. Now, however, the debtor-in-possession has built up a staggering wall of post-

petition obligations with priority over unsecured claims as a result of its serious and continuing

administrative losses and delays.


       24.     Of most direct negative impact on unsecured creditors is the $5 million secured,

super priority debtor-in-possession financing facility that the debtor entered into. It appears clear

at this juncture that this facility has been utilized primarily as a vehicle to fund administrative

losses insofar as the loan balance so closely tracks the amount of aggregate professional fees

incurred in this case. The most recent operating report filed by the debtor indicates that the loan

balance as of March 31, 2018 stood at $4.2 million, an amount closely aligned with the more

than $4.1 million of aggregate professional fees and expenses allowed as of that date. The

history of loan advances under that facility combined with the amount of pending fee

applications suggests that the full $5 million credit line will soon be outstanding.


       25.     Also negatively impacting unsecured creditors is the accrual of post-petition

interest now approaching $1 million on the $3 million of pre-petition secured claims. This,

combined with the imminent, expected $5 million balance of the debtor-in-possession financing

facility, creates a new $6 million wall of priming post-petition debt that stands ahead of the $15

million of combined pre-petition secured and unsecured claims. At a minimum, the

administration of this case by the debtor-in-possession has thus raised the cost of exit to at least

$21 million to make pre-petition creditors whole. Even more troubling is the fact that the


                                                  10
             Case 3:16-bk-02230-PMG            Doc 1013      Filed 05/01/18     Page 11 of 17



administrative expense burn is not yet over, and it can be expected that further priming

administrative expenses will be incurred if the debtor-in-possession is allowed to continue on its

wasteful, non-productive course. If that occurs, the exit cost will be even higher.


                        APPOINTMENT OF CHAPTER 11 TRUSTEE REQUIRED


           26.       In light of the position stated in the Initial Sale Motion; the methodology

supporting the $218 million valuation set forth in the Appraisal Report; and the very substantial

(albeit mishandled) efforts taken in this case to obtain a final judgment against the Republic of

France to confirm the debtor’s title to the French Artifacts, it is almost incomprehensible that

there is no indication whatsoever in the public record that the debtor-in-possession has ever

sought to pursue an auction-house type sale of individual French Artifacts.


           27.       The Initial Sale Motion makes clear the legal demarcation between the American

Collection and the French Collection as determined by the course of pre-petition federal court

litigation leading to the controlling Fourth Circuit precedent summarized below: 8

                     “10. In 2004, RMST filed a “Motion for Salvage and/or Finds Award”
                     with the EDVA Court. Id. at 525. The motion sought an award of title to
                     the American Artifacts; the motion excluded any requests for
                     compensation as to the French Artifacts, for which title had already
                     transferred to the Company pursuant to the French administrator’s 1993
                     award. Id. By Order dated July 2, 2004, the EDVA Court refused to
                     recognize the previous decision by the French Administrator, effectively
                     stripping the Company of title to the French Artifacts. R.M.S. Titanic, Inc.
                     v Wrecked & Abandoned Vessel, 323 F. Supp. 2d 724 (E.D. Va. 2004). In
                     refusing to recognize the French Administrator’s decision to award the
                     French Artifacts to RMST, the EDVA Court concluded that an application
                     of the principles of comity did not justify the EDVA Court’s recognition
                     of the French administrative proceeding. Id. at 733. The EDVA Court
                     directed RMST to prepare a motion for salvage award on the entire
                     collection of Titanic artifacts – the French Artifacts and the American
                     artifacts.

8
    Initial Sale Motion at pars. 10 and 11.


                                                      11
         Case 3:16-bk-02230-PMG           Doc 1013      Filed 05/01/18      Page 12 of 17



               11. RMST appealed the July 2, 2004 Order to the United States Court of
               Appeals for the Fourth Circuit. On January 31, 2006, the Fourth Circuit
               vacated the EDVA Court Order with respect to the ownership of the
               French Artifacts, holding that the EDVA Court “does not have in rem
               jurisdiction over the French artifacts, or, absent in rem jurisdiction, any
               other jurisdictional basis upon which to issue a declaratory judgment” and
               remanded the case to the EDVA Court for administration of the American
               Artifacts. R.M.S. Titanic, Inc., 435 F.3d at 528. This decision effectively
               reconfirmed the French Administrator’s transfer of title to RMST of the
               French Artifacts, and established as the law of the case that the EDVA
               Court’s subject matter jurisdiction extends only to the American Artifacts
               and the wreck itself, but not to the French Artifacts.”

       28.     Whatever restrictions and limitations may exist with respect to the American

Artifacts under the jurisdiction of the United States District Court for the Eastern District of

Virginia, the above makes clear that such jurisdiction does not extend to the French Artifacts.

Furthermore, to the extent there was any question about whether the Republic of France may

have retained or imposed any interest in or restrictions or limitations upon the debtor with

respect to the French Artifacts, the final judgement of this Court in the French adversary

proceeding has put that issue to rest by holding as follows:

               “The French Republic a/k/a Republic of France and its government
               agencies have no interest in the French Artifacts, defined as approximately
               2,100 artifacts that were recovered from the wreck site of the RMS Titanic
               during an exhibition conducted in 1987.”

       29.     The path to conduct an auction-house sale of individual French Artifacts is clear

as a result of the above judicial decisions. Moreover, the Appraisal Report makes clear that such

auction house sales formed the basis of its $218 million value opinion and therefore appear to

represent the best and most certain value proposition for the benefit of the estate. In contrast, any

effort to sell the overall collection as a single entirety would be unprecedented, and the inclusion

of the American Artifacts in a singular, entirety sale raises highly problematic issues in relation

to the severe legal covenants and restrictions attendant to the American Collection. Such




                                                 12
         Case 3:16-bk-02230-PMG            Doc 1013      Filed 05/01/18      Page 13 of 17



problems with an entirety sale are sadly apparent from the debtor’s failed marketing efforts to

date.


        30.    In light of the above, it is absolutely confounding that the debtor has refused to

pursue an auction-house sale of individual French Artifacts. Indeed, such a sale may represent

the only means to achieve full payment to creditors at this stage of the case given the extent of

administrative expense losses that the debtor has allowed to pile up.


        31.     It is not productive at this juncture to speculate on the motivation or agenda for

the actions by the debtor in the administration of this case that have been so ineffective and

harmful and by which it has unquestionably forfeited any right to continue as a fiduciary debtor-

in-possession. What is clear, for all the foregoing reasons, is that it is time to appoint a qualified,

disinterested chapter 11 trustee to immediately and actively explore and implement a prompt,

value-maximizing chapter 11 exit and to impose some long-overdue discipline on the runaway

expenses and continuing losses that have been experienced on the debtor's watch.


        32.    The foregoing allegations drawn from the uncontroverted public case record

establish that cause exists for the appointment of a chapter 11 trustee and that such appointment

is in the interests of creditors and the estate in accordance with Bankruptcy Code Section 1104.

Additional support for the appointment of a chapter 11 trustee may be found in Bankruptcy Code

Section 1112(b).


        33.    While this Motion does not seek conversion to chapter 7, reference to section

1112(b) indicates that such conversion could be mandatory upon the request of a party in interest

as a result of the various instances of “cause” defined therein that unquestionably have come to

exist under the watch of this debtor-in-possession. However, subsection 1112(b)(1) permits the


                                                  13
         Case 3:16-bk-02230-PMG           Doc 1013      Filed 05/01/18      Page 14 of 17



Court to avoid a mandatory chapter 7 conversion upon finding that the appointment of a chapter

11 trustee under section 1104 “is in the best interests of creditors and the estate.” Insofar as

conversion to chapter 7 would likely be more disruptive to the estate than the appointment of a

chapter 11 trustee, the ability to pre-empt this otherwise mandatory conversion by appointing a

trustee surely comports with this “best interests” standard.

       WHEREFORE, Movant respectfully requests that:

       A)      The Court enter an order for the appointment of a Chapter 11 trustee herein

pursuant to Bankruptcy Code Section 1104(a);

       B)      In the event such appointment is ordered, the Office of the United States Trustee

convene a meeting of creditors pursuant to Bankruptcy Code Section 1104(b)(1) for the purpose

of electing one disinterested person to serve as trustee in the case; and

       C)      The Court grant such other and further relief as is just and proper.


Dated this 1st day of May, 2018

                                                 /s/ Howard Siegel
                                                 ___________________________________
                                                 HOWARD SIEGEL
                                                 Connecticut Bar No. 07092
                                                 945 McKinney Street, PMB 434
                                                 Houston, TX 77002
                                                 Tel: 713-984-4801
                                                 Email: howard@eucinv.com

                                                 Counsel to the Movants


                                                 /s/ Aaron R. Cohen
                                                 __________________________________
                                                 AARON R. COHEN
                                                 Florida Bar No. 0558230
                                                 Post Office Box 4218
                                                 Jacksonville, FL 32201
                                                 Tel: 904-389-7277



                                                 14
         Case 3:16-bk-02230-PMG            Doc 1013    Filed 05/01/18      Page 15 of 17



                                               Fax: 904-389-7273
                                               Email: acohen60@bellsouth.net

                                               Local Counsel to the Movants


                                                Filer’s Attestation: Pursuant to Local Rule
                                               1001-2(e)(3) regarding signatures, Aaron
                                               Cohen attests that concurrence in the filing of
                                               this paper has been obtained.




                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on 1 of May 2018, a true and correct copy of the foregoing

has been served through the CM/ECF system to all registered CM/ECF recipients.

       Per the Court’s Order Granting Debtors’ Motion for an Order Pursuant to 11 U.S.C. §

105(a) and Rule 2002 Establishing Notice Procedures [Doc. No. 140], a true and correct copy of

the foregoing was also furnished on May 1, 2018 via first-class U.S. Mail, postage-prepaid, to

the Master Service List attached hereto.

                                                      /s/ Aaron R. Cohen

                                                      ______________________________
                                                      AARON R. COHEN




                                               15
Case 3:16-bk-02230-PMG   Doc 1013   Filed 05/01/18   Page 16 of 17
Case 3:16-bk-02230-PMG   Doc 1013   Filed 05/01/18   Page 17 of 17
